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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                    CRIMINAL NO. 1:18-CR-00032-DLF

INTERNET RESEARCH AGENCY LLC., et
al.,

       Defendants.



                     JOINT MOTION FOR A BRIEFING SCHEDULE

       Pursuant to the Court’s May 29, 2018 Order, Defendant Concord Management and

Consulting, LLC (“Defendant” or “Concord”), by and through undersigned counsel, and the

United States of America, by and through Special Counsel Robert S. Mueller, III, hereby jointly

move for the entry of a briefing schedule for pretrial motions.

       As discussed during the May 15, 2018 status hearing, Defendant currently anticipates

filing several pretrial motions that are not dependent on discovery. The Court requested that the

parties agree upon a schedule to stagger these motions. To that end, the parties propose the

following briefing schedule:

Anticipated Motion                    Filing Date          Opposition Date      Reply Date
Challenge to authority of Special     July 16, 2018        August 15, 2018      August 31, 2018
Counsel
Motion to Dismiss Indictment          August 3, 2018       September 4, 2018    September 18,
(multiple grounds)                                                              2018
Motion for Hearing Regarding          August 31, 2018      September 21, 2018 October 5, 2018
Selective Prosecution




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Anticipated Motion                    Filing Date            Opposition Date        Reply Date
Due Process Challenge to Grand        September 21,          October 22, 2018       November 5,
Jury Instructions1                    2018                                          2018

       Further, the United States has not yet started producing discovery while the parties confer

regarding the terms of a protective order. As such, Defendant anticipates there may be additional

motions filed depending on the materials received in discovery, including but not limited to a

motion for a bill of particulars, motion(s) to suppress, and motion(s) to compel.

Dated: June 1, 2018

Respectfully submitted,

CONCORD MANAGEMENT AND                               ROBERT S. MUELLER, III
CONSULTING LLC                                       Special Counsel

By Counsel

/s/ Eric A. Dubelier                                 /s/ Jeannie S. Rhee

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  Defendant’s motion regarding a due process violation with respect to instructions provided to
the grand jury relates to Defendants’ motion for in camera inspection of the grand jury
instructions, which is currently pending (Dkt. No. 11). Defendants intend to file this motion
regardless of the Court’s ruling on the currently pending motion. Under this proposal,
Defendants will file the motion on September 21, 2018. If the Court prefers, Defendant can wait
until the Court rules on the currently pending motion before scheduling briefing on the motion
raising due process concerns.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of June 2018, the foregoing was electronically filed

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to all counsel of record:


                                                /s/
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